              Case 2:20-cr-00032-JCC Document 231 Filed 09/26/21 Page 1 of 3




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2                                                                  The Honorable John C. Coughenour

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6                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
7                                          AT SEATTLE

8
     UNITED STATES OF AMERICA,                              No. CR20-032 JCC
9
                    Plaintiff,
10                                                          DEFENDANT’S OBJECTIONS TO
            v.                                              GOVERNMENT’S PROPOSED SOUND
11                                                          CLIP EXHIBITS
     KALEB COLE,
12
                    Defendant.
13

14
            Defendant, Kaleb Cole, by undersigned counsel, respectfully submits the following
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     objections to a number of the government’s proposed sound clips (as set forth below). Counsel
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     will raise objections during the course of trial but submits these written objections as well as the
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     transcripts corresponding to the government’s proposed exhibits (filed under seal) in order to
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     hopefully expedite the Court’s consideration of, and ruling on, the objections.
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20          Objections

21          The defense objects to the introduction of the portion of Government Exhibit 201

22   occurring prior to page 4, line 7 of the corresponding transcript on the basis that the statements

23   are irrelevant to the charges and highly prejudicial to Mr. Cole, as they involve a discussion of
24   the possession of firearms.
25


      DEFENDANT’S OBJECTIONS TO                                    BLACK & ASKEROV, PLLC
      GOVERNMENT’S PROPOSED SOUND CLIP                          705 Second Avenue, Suite 1111
      EXHIBITS (Kaleb Cole; No. CR20-032 JCC) - 1                     Seattle, WA 98104
                                                              206.623.1604 | Fax: 206.658.2401
                 Case 2:20-cr-00032-JCC Document 231 Filed 09/26/21 Page 2 of 3




             The defense objects to the introduction of the portion of Government Exhibit 202
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     occurring prior to page 3, line 5 of the corresponding transcript on the basis that the statements
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3    are irrelevant to the charges and highly prejudicial to Mr. Cole, as they involve a discussion of

4    the possession of firearms.

5            The defense objects to the introduction of the portion of Government Exhibit 606

6    occurring after page 2, line 10 of the corresponding transcript on the basis that the statements are
7    irrelevant to the charges and highly prejudicial to Mr. Cole, as they involve a discussion of him
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     being in jail.
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              The defense objects to the introduction of the portions of Government Exhibit 607
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     occurring prior to page 10, line 10, and after page 11, line 18, of the corresponding transcript on
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     the basis that the statements are irrelevant to the charges and highly prejudicial to Mr. Cole, as
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     they involve a discussion of him being in jail and being deported from Canada.
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             The defense objects to the introduction of Government Exhibit 701 in its entirety as it
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     relates to statements allegedly made by Mr. Cole more than a year prior to the activities
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16   underlying the charges in this matter and therefore creates a danger of prejudice and of confusing

17   the jury.

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      GOVERNMENT’S PROPOSED SOUND CLIP                          705 Second Avenue, Suite 1111
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             Case 2:20-cr-00032-JCC Document 231 Filed 09/26/21 Page 3 of 3



           Respectfully submitted this 26th day of September, 2021.
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                                                   BLACK & ASKEROV, PLLC
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6
                                                   s/ Teymur Askerov
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